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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:20-cv-03119-NYW-KAS

 WESLEY NELSON, by and through his conservator and
 guardian, Amy Nelson,

          Plaintiff,
 v.
 TOYOTA MOTOR CORPORATION,

               Defendant.



 TOYOTA MOTOR CORPORATION’S MOTION FOR JUDGMENT AS A MATTER OF
              LAW PURSUANT TO FED. R. CIV. P. 50(a)(1)


        Toyota Motor Corporation (“Toyota”) submits this Motion for Judgment as a Matter

of Law Pursuant to Federal Rule of Civil Procedure 50(a)(1):

   I.      INTRODUCTION

        This case arises from an October 25, 2018 motor vehicle accident after Dennis

Bender suffered a diabetic episode while driving his 2017 Toyota RAV4, causing it to veer

into oncoming traffic, swerve back into the correct lane of travel, exit the roadway, travel

down an embankment into a ditch, strike a utility pole, and roll three and one quarter

times. Plaintiff Wesley Nelson was riding in the front passenger seat at the time of the

accident. Now, Mr. Nelson argues that a manufacturing defect in the RAV4 caused or

contributed to his injuries. Plaintiff makes this argument despite the undisputed fact that

he has not, and cannot, point to a specific defect in the vehicle. Instead, Plaintiff asks this

Court to allow the jury to rely on the Restatement (Third) of Torts §3, to “infer” the

existence of a defect based upon circumstantial evidence.
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         Despite presenting 12 witnesses1 over 6 days, Plaintiff failed to establish each

element of his claim by a preponderance of the evidence. Put another way, there is no

legally sufficient evidentiary basis for a jury to find in Mr. Nelson’s favor. For that reason,

more fully described herein, this Motion for Judgment as a Matter of Law should be

granted.

   II.      LEGAL STANDARD

         A motion under FED. R. CIV. P. 50(a)(1) asks this Court to determine whether a jury

would “have a legally sufficient evidentiary basis to find for” Plaintiff. Rule 50(a)(1) of the

Federal Rules of Civil Procedure provides:

               (1) In General. If a party has been fully heard on an issue
               during a jury trial and the court finds that a reasonable jury
               would not have a legally sufficient evidentiary basis to find for
               the party on that issue, the court may: (A) resolve the issue
               against the party; and (B) grant a motion for judgment as a
               matter of law against the party on a claim or defense that,
               under the controlling law, can be maintained or defeated only
               with a favorable finding on that issue.

A motion for judgment under Rule 50(a)(1) may be made at any time before the case is

submitted to the jury. FED. R. CIV. P. 50(a)(2). In evaluating a defendant's Rule

50(a) motion, the Court is required to consider all the evidence presented at trial, and

must review the record “taken as a whole.” Reeves v. Sanderson, 530 U.S. 133, 150




1 Jodie Immell [Trial Transcript (Day 2) at 71:8-188:19], Paul Lewis [Trial Transcript (Day 2) at

189:4-216:6; Trial Transcript (Day 3) 4:23-87:12], Peter Sullivan [Trial Transcript (Day 3) at 89:8-
237:17; Trial Transcript (Day 4) 3:4-72:2], Timothy Harp [Trial Transcript (Day 4) at 72:21-94:22],
Suk Jae Ham [not transcribed], Bradley Nelson [Trial Transcript (Day 4) at 99:11-166:18], Eric
Spier, M.D. [Trial Transcript (Day 5) at 16:4-90:15]; Laura Woodard [Trial Transcript (Day 5) at
90:21-155:22]; Jeffrey Nehls [Trial Transcript (Day 5) at 156:2-188:6]; Amy Nelson [Trial
Transcript (Day 5) at 188:6-257:12]; Whitney Nelson [Trial Day 6; based on Plaintiff’s order of
proof]; Wesley Nelson [Trial Day 6; based on Plaintiff’s order of proof].


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(2000). “[T]he court must draw all reasonable inferences in favor of the nonmoving party

and it may not make credibility determinations or weigh the evidence.” Id. at 150.

          “Thus, although the court should review the record as a whole, it must disregard

all evidence favorable to the moving party that the jury is not required to believe.” Romero

v. Helmerich & Payne Int'l Drilling Co., No. 15-CV-00720-NYW, 2017 WL 3608194, at *2

(D. Colo. Aug. 22, 2017). That is, the Court should give credence to the evidence favoring

the nonmovant as well as that “evidence supporting the moving party that is

uncontradicted and unimpeached, at least to the extent that the evidence comes from

disinterested witnesses.” Reeves, 530 U.S. at 151 (quoting 9A C. Wright & A. Miller,

FEDERAL PRACTICE AND PROCEDURE, § 2529, p. 300 (2d ed. 1995)). In sum, the

“standard for granting summary judgment mirrors the standard for judgment as a matter

of law, such that the ‘inquiry under each is the same.’” Reeves, 530 U.S. at

150 (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. at 250–251). The court may grant

the motion only if the evidence points but one way and is susceptible to no reasonable

inferences which may support the opposing party's position. Bristol v. Board of County

Commissioners of County of Clear Creek, 281 F.3d 1148, 1161 (10th Cir. 2002).

   III.      ARGUMENT

          Under Colorado law, a plaintiff may assert a strict product liability claim based upon

a “manufacturing defect, a design defect or a failure to warn.” Camacho v. Honda Motor

Co., 741 P.2d 1240, 1247 (Colo. 1987). “The question in manufacturing defect cases is

whether the product as produced conformed with the manufacturer's specifications.” Id.

If a plaintiff lacks “proof of a specific defect,” he may present “a circumstantial

manufacturing defect case . . . if [he] can prove that the harm-causing incident (a) was of




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a kind that ordinarily occurs as a result of product defect, and (b) was not, in the particular

case, solely the result of causes other than product defect existing at the time of sale or

distribution.” Olivero v. Trek Bicycle Corp., 291 F. Supp. 3d 1209, 1223-24 (D. Colo. 2017)

(internal quotations omitted).

          Here, it is undisputed that Plaintiff alleges a claim for manufacturing defect only,

which requires Plaintiff to prove the following by a preponderance of the evidence: (1)

The 2017 Toyota RAV4 operated by Mr. Bender was defective and, because of the defect,

the 2017 Toyota RAV4 operated by Mr. Bender was unreasonably dangerous to a person

who might reasonably be expected to use, or be affected by the 2017 Toyota RAV4

operated by Mr. Bender; (2) The 2017 Toyota RAV4 operated by Mr. Bender was defective

at the time it was manufactured by the defendant or left its control; (3) The plaintiff had

injuries, damages or losses; and (4) The defect in the 2017 Toyota RAV4 operated by Mr.

Bender was a cause of the Plaintiff's injuries, damages, or losses. Colo. J.I. 3:1; Colo. J.I.

14:1. Because Plaintiff cannot prove each of these elements, his claim fails as a matter

of law.

             a. There is No Evidence that the 2017 RAV4 was Defective and Unreasonably
                Dangerous.

          It is undisputed that Plaintiff has not identified a specific defect in the RAV4.2

Instead, Plaintiff asks this Court to apply the Restatement (Third) of Torts: Prod. Liab. § 3

(hereinafter, “Restatement (Third) § 3”), which would allow the jury to infer the existence

of a defect based upon circumstantial evidence.3 The Restatement (Third) § 3 has never


2 Sullivan Trial Tr., 09/05/2024 (Day 3) at 187:3-6; Lewis Trial Tr., 09/05/2024 (Day 3) at 40:22-

24, 44:3-13.
3 During trial on September 5, 2024, in ruling on Toyota’s objection to Mr. Sullivan’s testimony,

the Court stated that Toyota did not object to the application of Malfunction Theory in its Response
to Plaintiff’s Motion to Reconsider, found at Dkt. 272. [Trial Transcript 09/05/2024 (Day 3) at


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been expressly adopted by the Colorado Supreme Court and has been applied in this

District in only one case, following a detailed factual analysis. See, generally, Olivero, 291

F. Supp. 3d 1209. Whether or not to permit the inference of defect based upon

circumstantial evidence, without a specific analysis of Restatement (Third) § 3, has been

the subject of five additional cases. See Heikkila v. Kahr Firearms Grp., No. 1:20-CV-

02705-MDB, 2023 WL 2375082, at *3 (D. Colo. Mar. 6, 2023)(acknowledging that the

district court did not apply the malfunction theory but noting that, if it had, it would not

have been in error); Hauck v. Michelin N. Am., Inc., 343 F. Supp. 2d 976, 987 (D. Colo.

2004) (disallowing circumstantial evidence where the only evidence of defect was “the

plain fact that the tire failed”); Oja v. Howmedica, Inc., 111 F.3d 782, 792 (10th Cir. 1997)

(allowing circumstantial evidence because the subject product was “completely missing”);

Weir v. Fed. Ins. Co., 811 F.2d 1387, 1392 (10th Cir. 1987)(“The inference of a defect is

permissible whenever the plaintiff has introduced evidence that would exclude other

causes of the accident.”); Union Ins. Co. v. RCA Corp., 724 P.2d 80, 83 (Colo. App.

1986)(allowing circumstantial evidence because, in part, the subject TV was destroyed in

the fire). A close analysis of these six cases demonstrates that the Restatement (Third) §

3 should not be applied here. Thus, this Court should not allow the jury to infer that

Plaintiff’s claimed injury was caused by a product defect and, as a result, should grant

this Motion for Judgment as a Matter of Law.

       Restatement (Third) § 3 states:

               It may be inferred that the harm sustained by the plaintiff was
               caused by a product defect existing at the time of sale or

121:25-122:7.] This, respectfully, is not correct. In fact, Toyota dedicated over 5 pages to that very
topic. [Dkt. 272, at pp. 9-14.] To be clear, Toyota has always maintained, and presently maintains,
an objection to the application of the Malfunction Theory and the Restatement (Third) § 3.


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              distribution, without proof of a specific defect, when the
              incident that harmed the plaintiff:

              (a) was of a kind that ordinarily occurs as a result of product
              defect; and

              (b) was not, in the particular case, solely the result of causes
              other than product defect existing at the time of sale or
              distribution.

The comments to the Restatement (Third) § 3 offer guidance with respect to its

application. Comment b, for example, explains that this section typically applies only

“when the product unit involved in the harm-causing incident is lost or destroyed in the

accident,” rendering direct evidence of the specific defect unavailable. Restatement

(Third) § 3, cmt. b (emphasis added); see, e.g., Dansak v. Cameron Coca-Cola Bottling

Co., 703 A.2d 489, 496 (Pa. Super. Ct. 1997) (soda bottle was thrown away through no

fault of the parties); Union Ins. Co., 724 P.2d at 83 (the subject TV was destroyed in the

fire). Because Plaintiff has not established these elements, the jury should not be

permitted to infer the existence of a defect. Olivero, 291 F. Supp. 3d at 1224.

       First, Plaintiff failed to establish that his injuries were “a kind that ordinarily occurs

as a result of product defect.” Restatement (Third) § 3(a). In Olivero, the court ultimately

found this element satisfied because, in part, Trek’s own literature supported the principle

that “carbon fiber can conceal a flaw and then suddenly fail.” Olivero, 291 F. Supp. 3d at

1223. Similarly, in Heikkila, the court allowed circumstantial evidence because the

“[d]efendant’s own experts appear to agree with . . . the theory that if the pistol discharged

when it hit the ground, it was not operating as it should have operated.” Heikkila, 2023

WL 2375082, at *3. Here, by contrast, it is undisputed that there was a power interruption




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and that the airbags, by design, do not deploy without power.4 Thus, Plaintiff’s injuries,

which were allegedly caused by the nondeployment of an airbag, were not “a kind that

ordinarily occurs as a result of product defect” because the airbag did not “fail[] to perform

its manifestly intended function.” Restatement (Third) § 3 cmt. b. Plaintiff may argue that

the nondeployment of the airbags is not the claimed defect but, rather, the power

interruption is the claimed defect. Plaintiff, however, introduced no evidence to establish

that a power interruption “ordinarily occurs as a result of product defect.” To the contrary,

a power interruption commonly occurs in the absence of a defect; i.e., when a vehicle is

turned off.5

       Second, Plaintiff failed to establish that “the incident that harmed the plaintiff . . .

was not, in the particular case, solely the result of causes other than product defect

existing at the time of sale or distribution.” Restatement (Third) § 3(b). “The inference of

a defect is permissible whenever the plaintiff has introduced evidence that would exclude

other causes of the accident.” Weir, 811 F.2d at 1392. While it may be true that Plaintiff

“need not definitively . . . rule out alternative causes,” Plaintiff must present “evidence

from which a reasonable jury could conclude it is more likely than not that the accident

did not result solely from something other than a manufacturing defect.” Olivero, 291 F.

Supp. 3d at 1224. Here, Plaintiff has not eliminated all other potential causes. Instead,



4 Sullivan Trial Tr., 09/05/2024 (Day 3) at 171:6-172:12.

5 A significant portion of Plaintiff’s evidence revolved around the Vehicle Control History (“VCH”)

data and the Diagnostic Trouble Codes (“DTCs”). Analysis of the VCH data was intended to
demonstrate when the power was restored: before the pole strike or after the pole strike.
Resolution of this issue is not required for this Motion. It is undisputed that the airbags did not
deploy due to lack of power and that airbags do not deploy without power. [Sullivan Trial Tr.,
09/05/2024 (Day 3) at 171:6-172:12.] Thus, the airbags did not “fail[] to perform [their] manifestly
intended function” under Plaintiff’s theory. Finally, it is undisputed that the DTCs cannot be
triggered by occupant interaction. Sullivan Trial Tr., 09/06/2024 (Day 4) at 14:22-25.


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Plaintiff’s expert, Peter J. Sullivan, purports to have ruled out only one cause: occupant

interference.6 After ruling out this singular potential cause, Mr. Sullivan makes the bold

proclamation that he ruled out all potential causes, other than product defect.7 Mr. Sullivan

makes this statement despite the fact that he never tested the Airbag Control Module

(“ACM”), nor did he inspect the ACM’s wiring.8 Thus, Mr. Sullivan offers no credible

evidence to support his conclusion that the only possible cause is product defect.

       Finally, Plaintiff cannot prove that the Restatement (Third) § 3 should apply

because the relevant portions of the subject vehicle were neither lost nor destroyed.

Indeed, Plaintiff did not introduce any evidence supporting his argument that the relevant

components of the vehicle were destroyed. Instead, Plaintiff presented hours and hours

of testimony from Jodie Immell, Paul Lewis, and Peter Sullivan about the extensive data

pulled from the vehicle. Critically, Mr. Sullivan admitted that the ACM, which is housed

between the two front seats, was not destroyed.9 Mr. Sullivan further admitted that he

neither powered up nor tested the ACM, despite the fact that he could have done so.10

Finally, Mr. Sullivan admitted that the wiring harness, which was damaged in the accident,




6 The testimony provided by Mr. Sullivan was, to say the least, unreliable. Indeed, Mr. Sullivan

admitted that his DTC testing resulted in a 60% error rate. [Sullivan Trial Tr., 09/06/2024 (Day 4)
at 14:12-21.] Despite having the opportunity to do so, Plaintiff never rehabilitated Mr. Sullivan on
this point. Put another way, this testimony does not provide a “legally sufficient evidentiary basis”
for the jury to find in Plaintiff’s favor. FED. R. CIV. P. 50(a)(1).
7 Sullivan Trial Tr., 09/05/2024 (Day 3) at 186:12-187:17; Sullivan Trial Transcript (Day 4) at 71:4-

24.
8 Sullivan Trial Tr., 09/06/2024 (Day 4) at 21:22-22:22.

9 Sullivan Trial Tr., 09/05/2024 (Day 3) at 134:20-135:3.

10 Sullivan Trial Tr., 09/06/2024 (Day 4) at 21:22-22:12.




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healed itself, allowing for testing.11, 12 At no point did any expert testify that “catastrophic

damage” prevented their testing or analysis. Thus, the application of Restatement (Third)

§ 3 would be inappropriate here.

       Without the benefit of Restatement (Third) § 3, Plaintiff’s claim fails in its entirety.

None of the relevant cases demand a different result. As noted in Heikkila, “the decision

to permit circumstantial evidence depends on the facts of a particular case.” Heikkila,

2023 WL 2375082, at *3. Hauck v. Michelin N. Am., Inc., a 2004 case from this District, is

instructive. There, Judge Figa refused to allow circumstantial evidence in a case where

the plaintiff was injured in an accident allegedly caused by tire tread separation. Hauck,

343 F. Supp. at 979.

       The plaintiff filed suit against Michelin North America, alleging that the subject tire

was defective. Id. Plaintiff’s expert opined that the separation occurred as a result of an

“adhesion defect,” but admitted that he could not “specify the precise cause of the

adhesion defect.” Id. Nonetheless, the plaintiff urged the court to allow proof of defect

through circumstantial evidence. Id. at 988. The court rejected the plaintiff’s request

because the tire was neither destroyed nor missing, the tire had been examined by the

plaintiff’s expert, but the plaintiff’s expert “never performed testing on a tire to determine

the cause of belt or tread detachment.” Id. at 982. Here, like in Hauck, the subject vehicle

is neither destroyed nor missing, the vehicle has been examined by Plaintiff’s experts,



11 Sullivan Trial Tr., 09/05/2024 (Day 3) at 217:25-218:14.

12 Plaintiff may argue that the RAV4’s Skid Control Module, which is the anti-lock brake module,

could not be downloaded. [Sullivan Trial Tr., 09/05/2024 (Day 3) at 155:20-156:5.] But Mr. Sullivan
later admitted that the module “healed itself,” and Sullivan was able to download the data from
the module. [Sullivan Trial Tr., 09/06/2024 (Day 4) at 218:4-219:14; Sullivan Trial Tr., 09/06/2024
(Day 4) at 21:18-21.]


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Plaintiff’s experts conducted extensive testing, but Plaintiff’s experts failed to test the

ACM. Thus, the same result should follow. Despite the foregoing, and despite the fact that

Mr. Sullivan spent countless hours and earned over $200,000.00 for his “testing,”13 neither

Plaintiff nor his experts can identify any specific defect. Put simply, circumstantial

evidence, and an inference of defect, is inappropriate in a case like this.

            b. There is No Evidence that the 2017 RAV4 was Defective When it Left
               Toyota’s Control.

        Plaintiff offered no evidence whatsoever regarding the condition of the Toyota

RAV4 when it left Toyota’s control. In fact, other than a single stipulation regarding

maintenance, Plaintiff introduced no evidence about the vehicle from the time it was

manufactured by Toyota to the date of the accident. Plaintiff, however, may not rely on an

inference to establish that a “defect existed at the time of sale or distribution.”

Restatement (Third) § 3 cmt d (emphasis added). Thus, direct evidence is required to

establish this element. Yet, Plaintiff presented none. Indeed, Plaintiff presented no

evidence, whether direct, circumstantial, inferential or otherwise, regarding the RAV4’s

condition when it left Toyota’s control or regarding the RAV4’s condition during the year

between the date of purchase and the subject accident.

        For example, Plaintiff failed to introduce evidence showing that neither Mr. Bender,

nor anyone else, interfered with the ACM or with the wiring in the vehicle. Moreover, the

evidence produced by Plaintiff demonstrates that the vehicle had been driven over 18,000

miles from the date it was purchased to the date of the accident.14 But there is no evidence

about the vehicle over those 18,000 miles. This evidence cannot be inferred but, instead,


13 Sullivan Trial Tr., 09/06/2024 (Day 4) at 60:3-9; 69:22-70:7.

14 Exhibit 73, at p. 1.




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must be direct. Restatement (Third) § 3 cmt d. Put simply, Plaintiff failed to establish that

the RAV4 was defective when it left Toyota’s control. Union Ins. Co., 724 P.2d at 83

(allowing circumstantial evidence because, in part, “plaintiff introduced evidence that,

from the time [he] unpacked the television from its factory carton, it was used normally

and neither disturbed internally nor abused.”). Thus, judgment as a matter of law is

warranted.

       Plaintiff may argue that the parties stipulated that “improper maintenance did not

cause or contribute to the subject accident or the non-deployment of the RAV4’s safety

restraint systems on the day of the crash.” But the fact that the subject vehicle was

properly maintained does not prove that the RAV4 was “defective when it left Toyota’s

control.” Indeed, routine oil changes are entirely unrelated to non-deployment of the

RAV4’s safety restraint systems, and Plaintiff has neither argued nor substantiated

otherwise.

          c. There is No Evidence that any Claimed Defect Caused Plaintiff’s Injuries,
             Damages, or Losses.

       There is no legitimate dispute that Wesley Nelson was injured in the car accident

on October 25, 2018. However, he completely failed to demonstrate a link between any

alleged product defect and his injuries. As outlined above, it is undisputed that the Plaintiff

cannot identify a specific defect in the product. Instead, the Plaintiff resorts to the

Restatement (Third) § 3, attempting to prove defect through circumstantial evidence. Yet,

the Plaintiff has fallen short of the required burden under this standard. Without identifying

a specific defect, and without establishing the requirements of the Restatement (Third) §

3, Plaintiff cannot establish that his injuries were caused by any defect, rendering his

claim unsubstantiated.



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   IV.      CONCLUSION

         For the reasons stated above, Toyota respectfully requests that the Court grant

this Motion and enter judgment in its favor.


Dated: September 10, 2024                           Respectfully submitted,


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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 10, 2024, I electronically filed the
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such filing to the following email addresses:

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